Case: 5:06-cr-00162-DAP Doc #: 232 Filed: 11/22/06 1 of 5. PageID #: 1298




  DOWD, J.

                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

                                                   )
  United States of America,                        )     CASE NO. 5:06 CR 162
                                                   )
                 Plaintiff,                        )
                                                   )     MEMORANDUM OPINION
         v.                                        )     ANALYZING THE SENTENCING
                                                   )     FACTORS SET FORTH IN 18 U.S.C.
  Charles Petties,                                 )     SECTION 3553(a)
                                                   )
                 Defendant.                        )

                                            I. Introduction

         The Court conducted the sentencing hearing of the defendant Charles Petties. The Court

  determined that the defendant’s total offense level was 23 with a criminal history category of II

  calling for a sentencing range under the advisory sentencing guidelines of 51 to 63 months.1 At

  the conclusion of the sentencing hearing, the Court sentenced the defendant to confinement for a

  period of 63 months with supervised release for a period of four years.

                          II. The Analysis Required by 18 U.S.C. § 3553(a)

         The Court sets forth its analysis of the sentencing factors required by Booker and the

  statutory guidance provided by 18 U.S.C. §3553(a) as follows:


         1
           The presentence report called for a two level enhancement for possession of a firearm.
  The defendant disputed the enhancement. The firearm was located in the bed stand in the
  defendant’s bedroom. The firearm was not loaded, but a full clip of ammunition for the weapon
  was beside the weapon. The issue for the Court was whether the firearm enhancement pursuant
  to the provisions of U.S.C.G. Section 2(D)1.1 should apply. The Court reviewed note number
  three and finally concluded that under all of the circumstances, the defendant would get the
  benefit of the doubt and the Court decided not to add the firearm enhancement thereby reducing
  the offense level to 23. The defendant, in any event, remains subject to a mandatory minimum
  sentence of 60 months.
Case: 5:06-cr-00162-DAP Doc #: 232 Filed: 11/22/06 2 of 5. PageID #: 1299




  (5:06 CR 162)

         (a) Factors to be considered in imposing a sentence.

         The court shall impose a sentence sufficient, but not greater than necessary, to comply

  with the purposes set forth in paragraph (2) of this subsection. The court, in determining the

  particular sentence to be imposed, shall consider -

         (1) The Nature and Circumstances of the Offense and the History and
         Characteristics of the Defendant

                  Approximately two years ago, the FBI and local law enforcement
                  initiated an investigation into the drug trafficking activities of the
                  Ronald Dede drug trafficking organization. The investigation
                  established that Dede had customers in Canton, Ohio. Dede
                  ordered cocaine from Arizona resident Craig Dawson who was
                  assisted by Letricia Epps who also resided in Arizona.

                  The investigation established that Ronald Dede, a resident of
                  California, developed a number of cocaine customers in Canton,
                  Ohio. The largest customers were Hakim Ali, Ronald Lucas,
                  Rodney Petties and Walter Dennis, Jr. Rodney Petties was
                  introduced to Ronald Dede by his brother, the defendant, Charles
                  Petties. Rodney Petties distributed a portion of the cocaine to
                  Charles Petties, the defendant, for distribution. Dede would order
                  his cocaine through Phoenix, Arizona resident Craig Dawson, who
                  was assisted by Phoenix resident, Letricia Epps. The source of
                  supply toward the end of the conspiracy was Oswaldo Sanchez.

                  During the course of the investigation, a confidential informant
                  made controlled purchases of cocaine from Rodney and Charles
                  Petties. The CI purchased a kilogram from Rodney and multiple
                  ounces from Charles. The CI discussed the price of a kilogram
                  with Charles. At least one of the controlled purchases with
                  Charles Petties took place at Charles’ residence where a weapon
                  was later found on March 9, 2006, during a search of his residence.




                                                     2
Case: 5:06-cr-00162-DAP Doc #: 232 Filed: 11/22/06 3 of 5. PageID #: 1300




  (5:06 CR 162)

         The defendant is a 43 year-old male with two prior convictions. He was convicted of

  Aggravated Menacing in 1996, and Domestic Violence in 2004. He was also charged with

  Domestic Violence in 2003, but was convicted of a lesser charge of Disorderly Conduct.2

         The defendant is a life-long resident of Canton, Ohio. Both of his parents are deceased.

  He has three brothers; one is a codefendant in this case. He also has one half-brother and one

  half-sister. He maintains a good relationship with all of his siblings.

         The defendant has been married twice. He has one 18 year old daughter with his first

  wife and four additional children with two other women.

         The defendant is in good physical health and has no mental health issues.

         The defendant used marijuana from age 15 to age 30. At age 21, he began using cocaine

  and became addicted to it.

         From 1998 until his arrest in 2006, the defendant worked primarily as a truck driver.

         The defendant’s acceptance of responsibility is set forth in paragraphs 19 and 20 of the

  presentence report as follows:

                  “I was in a financial bind trying to keep up with my household
                  bills and child support. I figured I could make some extra cash to
                  help me. So I purchased drugs and sold them to others which
                  included the CI..

                  “I know my action were wrong and I’d like to apologize to the
                  U.S. Government as well as my family for my action. It’s been a
                  big embarassment. I deeply regret it and I sincerely apologize.”
                  [sic]


         2
           Once again, the Court notes that the defendant had a weapon in the nite stand in his
  home at the time of his arrest with a fully loaded clip to place in the weapon which is a further
  indication that the defendant is subject to acts of violence consistent with his criminal record.

                                                   3
Case: 5:06-cr-00162-DAP Doc #: 232 Filed: 11/22/06 4 of 5. PageID #: 1301




  (5:06 CR 162)

         (2) The Need for the Sentence Imposed

                  (A) to reflect the seriousness of the offense, to promote respect
                  for the law, and to provide just punishment for the offense;

         Trafficking in cocaine is a serious offense. Many times, as in this case, the defendant

  has become addicted to cocaine. Here, the defendant is faced with a mandatory minimum

  sentence of 60 months. Under all of the factual circumstances of this case, a sentence of 63

  months is necessary to promote respect for the law and to provide just punishment.

                  (B) to afford adequate deterrence to criminal conduct;

        Mandatory minimum sentencing has been in place in the federal system for nearly 20

  years. Whether a lengthy sentence, as is necessary in this case, provides adequate deterrence to

  criminal conduct is questionable in the Court’s opinion as the media gives scant attention to the

  results in cases of this magnitude. Moreover, the persons who should be alert to the

  consequences of this behavior probably do not read newspapers or actually believe the fact of the

  long sentences.

                  (C) to protect the public from further crimes of the defendant;

         The defendant is 43. Although the defendant’s criminal history is II, he has spent only a

  handful of days in custody. It is possible that the combination of his age, the length of the

  imprisonment and the period of supervised release to follow will result in the public being

  protected from further crimes of the defendant. Certainly the public will be protected while he is

  in custody.

                  (D) to provide the defendant with needed educational or
                  vocational training, medical care, or other correctional
                  treatment in the most effective manner;

                                                   4
Case: 5:06-cr-00162-DAP Doc #: 232 Filed: 11/22/06 5 of 5. PageID #: 1302




  (5:06 CR 162)

         The defendant is experienced as a truck driver. Possibly he can use the time in prison to

  learn additional employment skills. He has a GED, but he will have the opportunity to continue

  with his education. The Court will recommend that the defendant be given the opportunity to

  participate in drug rehabilitation efforts to conquer his addiction to cocaine

                                           CONCLUSION

         For the reasons set forth herein, a sentence of 63 months with supervised release for four

  years and within the advisory guideline range, is a sentence sufficient, but not greater than

  necessary to comply with the purposes of 18 U.S.C. § 3553(a)(2).



         IT IS SO ORDERED.



  November 22, 2006                               /s/ David D. Dowd, Jr.
  Date                                          David D. Dowd, Jr.
                                                U.S. District Judge




                                                   5
